                    18-23538-shl          Doc 7147-1       Filed 02/06/20 Entered 02/06/20 00:29:47                      Exhibit A
Defendant:                  Mike Hunger                            Pg 1 of 1
Bankruptcy Case             Sears Holding Corporation, et al.
Preference Period:          Jul 17, 2018 - Oct 15, 2018
                                                         Transfers During Preference Period

                                   Debtor(s) Incurring
    Debtor Transferror(s)          Antecendent Debt       Check Number     Check Amount    Clear Date   Invoice Number   Invoice Date   Invoice Amount
 Sears Home Improvement        Sears Home Improvement      100741665           $1,789.84    7/10/18     24018102B-IN       7/7/18            $1,789.84
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100741769             $917.32    7/13/18     23686456A-IN       6/28/18            $567.28
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100741769             $917.32    7/13/18     23412989C-IN       7/11/18            $350.04
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100741845             $586.80    7/17/18     24018102A-IN       7/16/18            $586.80
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742018           $1,063.29    7/24/18     23854868A-IN       7/24/18           $1,063.29
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742156           $2,396.41    7/31/18     23994953A-IN       7/16/18           $2,396.41
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742258           $1,678.63    8/2/18      24093005A-IN       8/2/18            $1,452.28
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742258           $1,678.63    8/2/18      24093005B-IN       8/2/18             $226.35
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742475           $1,698.68    8/14/18     24225633A-IN       8/10/18           $1,698.68
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742581           $2,530.43    8/21/18     23994177A-IN       8/20/18           $1,778.73
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742581           $2,530.43    8/21/18     24205813B-IN       8/21/18            $422.05
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742581           $2,530.43    8/21/18     24205813A-IN       8/21/18            $329.65
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742654             $249.00    8/23/18     23994953B-IN       8/21/18            $249.00
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100742827             $350.14    9/4/18      24122959A-IN       9/1/18             $350.14
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100743030             $249.80    9/11/18     24205813C-IN       9/10/18            $249.80
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100743095           $1,064.72    9/13/18     24399885A-IN       9/13/18           $1,064.72
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100743209             $587.02    9/20/18     24208162A-IN       9/18/18            $587.02
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100743310           $2,030.43    9/25/18     24311736A-IN       9/21/18           $2,030.43
       Products, Inc.                Products, Inc.
 Sears Home Improvement        Sears Home Improvement      100743391             $261.55    9/28/18     22524784A-IN      10/17/17            $261.55
       Products, Inc.                Products, Inc.

          Totals:      15 transfer(s), $17,454.06




Mike Hunger
Bankruptcy Case: Sears Holding Corporation, et al.
February 5, 2020                                                         Exhibit A                                                              P. 1
